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13                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
14

15
     JUAN QUINTANILLA VASQUEZ,                  Case No. 4:17-cv-755-CW
16   GABRIELA PERDOMO ORTIZ,                    ______________
17
     VICTOR HUGO CATALAN
     MOLINA, and KEVIN CALEDERON,               MOTION FOR LEAVE TO FILE
18   individually and on behalf of all others   AMICUS BRIEF
19
     similarly situated,
                                                Hearing Date:   December 9, 2020
20                Plaintiffs,                   Time:           2:30 P.M.
21
                 v.                             Judge:          Hon. Claudia Wilken
22

23
     LIBRE BY NEXUS, INC. and JOHN
24   DOES 1-50,
25
                  Defendants.
26

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28
      MOTION FOR LEAVE TO FILE AMICUS BRIEF
      NO. 4:17-cv-755-CW
              Case 4:17-cv-00755-CW Document 151 Filed 10/26/20 Page 2 of 3




 1          The State of New York respectfully moves for leave to file a brief as amicus curiae in opposition

 2   to the current proposed class action settlement (see Dkt. No. 144). A copy of the proposed brief, which

 3   is joined by proposed amicus curiae the States of New York, Massachusetts, and Virginia (the “States”),

 4   is attached as Exhibit A to this motion and includes a statement of the States’ interest in the matter. The

 5   States respectfully submit that the proposed amicus curiae brief will assist the Court in addressing the

 6   question of whether to approve the current proposed class action settlement.

 7          The Attorneys General perform a unique role for the Court by addressing the fairness of class

 8   action settlements. This role is recognized in the Class Action Fairness Act, which requires parties to

 9   provide information to the Attorneys General about the proposed settlement before the fairness hearing.

10   28 U.S.C. § 1715(b).

11          A significant portion of the nationwide class members are residents of the States that join in this

12   amicus brief. The New York Attorney General’s Bureau of Consumer Frauds and Protection, the Virginia

13   Attorney General’s Consumer Protection Section, and the Massachusetts Attorney General’s Public

14   Protection and Advocacy Bureau investigate and take enforcement action on behalf of the public interest

15   and have relevant experience in bringing consumer harm to light and crafting appropriate remedies. And

16   the States currently are investigating defendant Libre by Nexus Inc, and its parent company Nexus

17   Services Inc., for inter alia potential violations of state consumer protection laws.

18          No party would be prejudiced by the filing of this amicus brief. This brief is being filed well in

19   time for all parties to respond. And under Federal Rule of Appellate Procedure 29(a)(2), “a state may

20   file an amicus brief without the consent of the parties or leave of court.”

21          For the foregoing reasons, the motion for leave to file the proposed amicus brief should be

22   granted. The proposed amicus brief is attached as Exhibit A. Pursuant to Civil L.R. 7-2(c), a copy of the

23   proposed order pertaining to this motion is attached as Exhibit B.

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      MOTION FOR LEAVE TO FILE AMICUS BRIEF                   1
      NO. 4:17-cv-755-CW
            Case 4:17-cv-00755-CW Document 151 Filed 10/26/20 Page 3 of 3



          Dated: October 26, 2020
 1               New York, NY
 2        Respectfully Submitted,
 3        LETITIA JAMES
          Attorney General of the State of New York
 4
          By and Through:
 5
          /s/ Gavin G. McCabe
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14        The following Attorneys General join in this brief:
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     MOTION FOR LEAVE TO FILE AMICUS BRIEF               2
     NO. 4:17-cv-755-CW
